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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,                         )
                                                     )
 9                                      Plaintiff,   )    Case No. CR05-231-JCC
                                                     )
10         v.                                        )    PROPOSED FINDINGS OF FACT
                                                     )    AND DETERMINATION AS TO
11 DARRELL J. MORRIS,                                )    ALLEGED VIOLATIONS OF
                                                     )    SUPERVISED RELEASE
12                                    Defendant.     )

13                                         INTRODUCTION

14       I conducted a hearing on alleged violations of supervised release in this case on December

15 1, 2009. The defendant appeared pursuant to a warrant issued in this case. The United States

16 was represented by Bruce Miyake, and defendant was represented by Michael Nance. Also

17 present was Senior U.S. Probation Officer Jennifer Tien. The proceedings were digitally

18 recorded.

19                                SENTENCE AND PRIOR ACTION

20       Defendant was sentenced on April 14, 2006 by the Honorable John C. Coughenour for

21 Possession of a Firearm. He received 30 months of detention and 3 years of supervised release.

22                             PRESENTLY ALLEGED VIOLATIONS

23       In a petition dated November 16, 2009, Senior U.S. Probation Officer Jennifer Tien alleged


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 1
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 1 that defendant violated the following conditions of supervised release:

 2       1.      Possession of methamphetamine and marijuana on or about October 22, 2009, in

 3 violation of general condition that the defendant shall not unlawfully possess a controlled

 4 substance and standard condition number 7.

 5       2.      Possession of drug paraphernalia on or about October 22, 2009, in violation of

 6 standard condition number 7.

 7       3.      Failing to notify the probation officer within seventy-two hours of being arrested or

 8 questioned by a law enforcement officer on or before October 22, 2009, and October 29, 2009, in

 9 violation of standard condition number 2.

10       4.      Failing to report to the probation officer as instructed on November 13, 2009, in

11 violation of standard condition number 2.

12       5.      Falsifying a monthly supervision report for the month of October 2009, in violation

13 of standard condition number 2.

14                      FINDINGS FOLLOWING EVIDENTIARY HEARING

15       Defendant admitted the above violations, waived any hearing as to whether they occurred,

16 and was informed the matter would be set for a disposition hearing January 8, 2010 at 9:00 a.m.

17 before District Judge John C. Coughenour. After hearing argument from the parties, the Court

18 denied defendant’s motion for release pending disposition.

19                       RECOMMENDED FINDINGS AND CONCLUSIONS

20       Based upon the foregoing, I recommend the court find that defendant has violated the

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     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 2
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 1 conditions of his supervised release as alleged above, and conduct a disposition hearing.

 2       DATED this 1st day of December, 2009.

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                                                        A
                                                        BRIAN A. TSUCHIDA
                                                        United States Magistrate Judge
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     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 3
